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                                                    THE HONORABLE JOHN C. COUGHENOUR
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 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9    UNITED STATES OF AMERICA,                         CASE NO. CR17-0132-JCC
10                          Plaintiff,                  MINUTE ORDER
11           v.

12    ROBEL GOITOM,

13                          Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on Defendant’s motion to substitute counsel (Dkt.
18   No. 97). Having thoroughly considered the motion and the relevant record, the Court hereby
19   GRANTS the motion. Cathy Gormley may withdraw and Jessica Talitha Hazelton may act as
20   new counsel for Defendant.
21          DATED this 6th day of November 2020.
22                                                        William M. McCool
                                                          Clerk of Court
23

24                                                        s/Paula McNabb
                                                          Deputy Clerk
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